     Case 1:12-cr-00344-LJO-SKO Document 79 Filed 07/28/14 Page 1 of 2


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 5   Attorney for Defendant, Gilberto Chavez Leon

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 7

 8                                      UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:12-cr-00344-LJO-SKO

12                        Plaintiff,

13           v.                                        STIPULATION AND ORDER
                                                       REGARDING MODIFICATION OF PRE-
14   GILBERTO CHAVEZ LEON,                             TRIAL RELEASE CONDITIONS OF
                                                       DEFENDANT GILBERTO CHAVEZ
15           Defendant.                                LEON

16

17           IT IS HEREBY STIPULATED by and between Carol Ann Moses, attorney for

18   Defendant GILBERTO CHAVEZ LEON, and Kevin Rooney, Assistant United States attorney,

19   that the pretrial release conditions be modified as follows:

20           1.   Curfew for the night of August 2, 2014.

21           The parties agree that the curfew for Defendant GILBERTO CHAVEZ LEON of

22   9:00 p.m. every evening shall be adjusted for the evening of August 2, 2014 only, to 12:00

23   midnight. Mr. Leon requests an extension of his curfew for that evening only, so he may travel to

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     STIPULATION TO MODIFY CONDITIONS
     OF RELEASE FOR DEFENDANT
     GILBERTO CHAVEZ LEON                                                                           1
     Case 1:12-cr-00344-LJO-SKO Document 79 Filed 07/28/14 Page 2 of 2


 1   attend the wedding of a childhood friend. Mr. Leon has been on pretrial release since

 2   December 18, 2012. The Pretrial Services Officer Jacob Scott is on vacation. Pretrial Services

 3   Officer Lydia Serrano conveyed that Mr. Scott’s files indicate that he does not object to this

 4   request.

 5

 6   Dated: July 24, 2014                                 /s/ Carol Ann Moses
                                                          CAROL ANN MOSES
 7                                                        Attorney for Defendant,
                                                          GILBERTO CHAVEZ LEON
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10   Dated: July 24, 2014                                 /s/ Kevin P. Rooney
                                                          KEVIN P. ROONEY
11                                                        Assistant United States Attorney

12
                                                  ORDER
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15   IT IS SO ORDERED.

16       Dated:     July 27, 2014                                 /s/ Sheila K. Oberto
                                                       UNITED STATES MAGISTRATE JUDGE
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     STIPULATION TO MODIFY CONDITIONS
     OF RELEASE FOR DEFENDANT
     GILBERTO CHAVEZ LEON                                                                             2
